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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA

Jacqueline Johnson, Individually,   :
                                    :
             Plaintiffs,            :
                                    :
v.                                  :           Case No.
                                    :
Allegiant Air, LLC, A Nevada        :
Corporation,                        :
                                    :
             Defendant.             :
__________________________________/ :

                                  COMPLAINT
                           (Injunctive Relief Demanded)

      Plaintiff, Jacqueline Johnson, Individually, on her behalf and on behalf of all

other individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby

sues the Defendant, Allegiant Air, LLC, A Nevada Corporation, (sometimes referred

to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses,

and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”).

      1.    Plaintiff is a resident of Pooler, Georgia, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Plaintiff has struggled with

post-traumatic stress disorder ("PTSD”) since August 2021, after experiencing

significant harassment and menacing from her former son-in-law, who is now
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deceased by violent gunshot suicide (9/29/2021). Plaintiff's PTSD causes her to

become agitated and experience anxiety in unfamiliar, tense, or stressful settings.

      2.     Plaintiff is a doctoral-level licensed clinical social worker and has

struggled with nightmares, panic attacks, and hypervigilance since 8/21/2021 to

present. Colleagues of hers in the mental health field have supported her diagnosis

of PTSD.

      3.     Plaintiff acquired her service dog “Mischa” in 2016 and had her

enrolled in and complete Basic Obedience and Manners puppy training service

animal training at Top Notch Dog Training in Wappinger Falls, NY in 2017. This

training was extensive and entailed the following: dog manners, impulse control,

leash walking, response to commands, reinforcing attention span, and greeting

guests, and distinguishing strangers. Plaintiff personally began to train Mischa to

complete certain tasks to assist her with her PTSD in October 2021, and then

registered Mischa as a service dog in January 2022. Specifically, Plaintiff trained

Mischa to detect Plaintiff’s signs of anxiety before the anxiety escalates to a panic

attack and detect when someone is outside of an entrance door before the person

approaching has knocked or rung a doorbell, and proactively preventing a PTSD

episode. Mischa was fully trained to perform these tasks by 12/31/2021. See

Mischa’s US Service Dog registry certiﬁcate attached hereto as Exhibit A.

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      4.     The ADA is a comprehensive civil rights law enacted "to provide a

clear and comprehensive national mandate for the elimination of discrimination

against individuals with disabilities." 42 U.S.C. § 12101(b)(1). Title II of the ADA

provides that "no qualified individual with a disability shall, by reason of such

disability, be excluded from participation in or be denied the benefits of the services,

programs, or activities of a public entity, or be subjected to discrimination by any

such entity." 42 U.S.C. § 12132.

      5.     One is "disabled" under the ADA if he or she has a physical or mental

impairment that substantially limits one or more major life activities, has a record of

such an impairment, or is regarded as having such an impairment. 42 U.S.C. §

12102(1); 29 C.F.R. § 1630.2(g); see also Carothers v. County of Cook, 808 F.3d

1140, 1147 (7th Cir. 2015). The ADA defines "major life activities" as including,

but not limited to, "caring for oneself, performing manual tasks, seeing, hearing,

eating, sleeping, walking, standing, lifting, bending, speaking, breathing, learning,

reading, concentrating, thinking, communicating, and working." 42 U.S.C. §

12102(2)(A).

      6.     Plaintiff's PTSD substantially limits her major life activities such as

concentrating, thinking, and communicating. See 42 U.S.C. § 12102(2)(A). It should

be noted that the phrase "substantially limits" "is not meant to be a demanding

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standard" and determining "whether an impairment 'substantially limits' a major life

activity should not demand extensive analysis." 29 C.F.R. §§ 1630.2(j)(1)(i), (iii).

Additionally, the "term 'substantially limits' shall be construed broadly and in favor

of expansive coverage[.]" Id. § 1630.2(j)(1)(i). PTSD itself is an impairment that

will "virtually always be found to impose a substantial limitation on a major life

activity." Id. § 1630.2(j)(3)(ii). Indeed, "it should easily be concluded that the

following types of impairments will, at a minimum, substantially limit the major life

activities indicated: ... post-traumatic stress disorder ... substantially limit[s] brain

function." Id. § 1630.2(j)(3)(iii). See also, 29 C.F.R. § 1630.2(j)(1)(iii) ("The

primary object of attention in cases brought under the ADA should be whether

covered entities have complied with their obligations and whether discrimination has

occurred, not whether an individual's impairment substantially limits a major life

activity.").

       7.      A service animal is defined as any dog that is individually trained to do

work or perform tasks for the benefit of an individual with a disability, including a

physical, sensory, psychiatric, intellectual, or other mental disability. 28 C.F.R. §

35.104.

       8.      Despite the fact that Mischa is a fully-certified service dog as discussed

supra, it should be noted that the bar for demonstrating a genuine issue of fact

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regarding a dog's status as a service animal is not a high one. Cordoves, 92 F. Supp.

3d at 1230. "There are no requirements as to the amount or type of training that a

service animal must undergo, nor the type of work or assistance that a service animal

must provide, but the animal must be trained to perform tasks or do work for the

benefit of a disabled individual." Rose v. Springfield-Greene Cnty. Health Dep't,

668 F. Supp. 2d 1206, 1214-15 (W.D. Mo. 2009); accord Green, 994 F. Supp. at

1256; Vaughn, 2009 U.S. Dist. LEXIS 20747, 2009 WL 723166, at *10. "This is not

a taxing requirement, ... and there are no federally-mandated animal training

standards." Prindable v. Ass'n of Apartment Owners of 2987 Kalakaua, 304 F. Supp.

2d 1245, 1256 (D. Haw. 2003).

      9.     Plaintiff's PTSD causes her to become agitated, and experience feelings

of anxiety in unfamiliar, tense, or stressful situations such as solo air travel and hotel

stays. As a result, Mischa has been trained to perform specific tasks to ameliorate

the anxiety and agitation Plaintiff experiences in certain settings due to her PTSD.

      10.    Plaintiff's PTSD also causes her to have panic attacks. As a result,

Mischa has been trained to minimize and alleviate these attacks by lowering her

heart rate via specialized techniques. See, Cordoves, 92 F. Supp. 3d at 1231

(sufficient evidence existed to qualify dog as a service animal where it: detected

PTSD-related panic attacks; alerted plaintiff using various techniques; minimized

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and alleviated panic attacks by lowering her heart rate via those techniques; and

impacted the frequency with which the attacks occurred).

      11.    The regulations implementing the ADA provide that PTSD is an

impairment that substantially limits brain function. 28 C.F.R. § 35.108(d)(2)(iii)(K).

People v. Tapley, 2020 IL App (2d) 190137, P1, 2020 Ill. App. LEXIS 863, *1

      12.    In the context of ADA discrimination claims pertaining to service

animals in particular, "'discrimination' is defined as, among other things, 'a failure to

make reasonable modifications in policies, practices, or procedures, when such

modifications are necessary to afford such goods, services, facilities, privileges,

advantages, or accommodations to individuals with disabilities.” 42 U.S.C. §

12182(b)(2)(A)(ii). The Department of Justice has issued regulations stating that,

“generally, a public accommodation shall modify policies, practices, or procedures

to permit the use of a service animal by an individual with a disability.' 28 C.F.R. §

36.302(c)(1). By this regulation the Department of Justice intended that 'the broadest

feasible access be provided to service animals in all places of public accommodation

. . ..' 28 C.F.R. Pt. 36, App. B at 697." Lentini v. California Ctr. for the Arts,

Escondido, 370 F.3d 837, 843 (9th Cir. 2004).

      13.    Defendant owns, leases, leases to, or operates a place of public

accommodation as defined by the ADA and the regulations implementing the ADA,

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28 CFR 36.201(a) and 36.104. The place of public accommodation that the

Defendant owns, operates, leases or leases to is known as Allegiant Travel Company

operating out of the Savannah / Hilton Head International Airport (SAV) located at

400 Airport Avenue, Savannah, GA 31408, and is located in the County of Chatham.

       14.   Venue is properly located in the Southern District of Georgia because

venue lies in the judicial district of the property situs. The Defendant’s property is

located in and does business within this judicial district.

       15.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been

given original jurisdiction over actions which arise from the Defendant’s violations

of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See

also 28 U.S.C. § 2201.

       16.   As the owner, lessor, lessee, or operator of the subject airline,

Defendant is required to comply with the ADA.

       17.   Failure to comply with these requirements constitutes a violation of the

ADA.

       18.   On 1/14/2022, Plaintiff traveled by air, via Defendant airline, from

Savannah, GA to Newark, NJ. Prior to this flight, on 1/7/2022, Plaintiff emailed

Defendant through its website in an attempt to secure confirmation that Plaintiff

would be allowed to travel with her service dog. However, other than an automated

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“Thank you for your email”, Defendant never responded to Plaintiff’s email. On

1/14/2022 (the day of the flight), Plaintiff attempted to contact Defendant, via its

online chat feature, to again attempt to secure confirmation that Plaintiff would be

allowed to travel with her service dog. However, due to Defendant’s apparent

technical difficulties, no such confirmation (or denial) could be obtained. Plaintiff

next attempted to obtain such confirmation by phone, but Defendant did not answer

her call.

       19.   On 1/14/2022, Plaintiff arrived at the airport 2 hours early and showed

Defendant’s ticket agent her completed Air Carrier Access Act (ACAA)/USDOT

form, US Service Dog registry certiﬁcate and ID cards (collectively “Service Dog

Documentation”). The ticket agent confirmed that Plaintiff could fly with her service

dog on her lap.

       20.   At the gate, Plaintiff again presented the Service Dog Documentation.

Defendant’s representative then contacted Defendant’s ACAA department. ACAA

denied Plaintiff’s service dog request because Plaintiff checked a dog cage/carrier at

the counter. The representative stated that they didn’t consider a dog to be a service

animal. They further stated that “service animals need to be on your person at all

times; only pets have carriers”.




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       21.   Defendant’s representative then charged Plaintiff a $50 pet travel fee

and refused to allow Plaintiff onto the plane unless Mischa was secured in the carrier.

       22.   Defendant’s representative then refused to allow Plaintiff to sit in an

extra legroom seat, for which Plaintiff had already paid, due to her having a “pet” in

a carrier.

       23.   During the flight, Mischa had seizure mid-ﬂight due to being conﬁned

under a seat in a carrier. Mischa is trained to be on Plaintiff’s lap. She is trained to

be in a carrier when moving, not for keeping.

       24.   Mischa ended up being sick and vomited later that day, due to her

seizure.

       25.   After arriving in New York City, Plaintiff called Defendant’s customer

service to complain. After waiting on hold for two hours and 45 minutes, Plaintiff

was refunded the extra expense she incurred for the extra legroom space. Said

representative advised Plaintiff to resend the ACAA/USDOT form via email for her

1/17/22 return flight which she did.

       26.   Allegiant responded on 1/14 via e-mail, 11:4 pm with:

                   Our records indicate that your request to travel with
             a dog as a fully task trained service dog was denied due to
             non-compliance with Allegiant’s Service Animal policy.
             Allegiant welcomes passengers traveling with a service
             animal who provide credible and veriﬁable information.

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      The U.S. Department of Transportation created one (1)
      service animal form for all air carriers to utilize, which
      requires the passenger using a task trained service dog to
      provide details on the dog and Allegiant requires this form
      to be fully completed and submitted at least 48 hours prior
      to scheduled departure. Allegiant does not have a record
      of receiving the USDOT form at least 48 hours prior to
      departure, as required.

             The required DOT form was not provided 48 hours
      prior to travel but was shown to an Allegiant airport agent
      on the day of travel. Unfortunately, the information
      provided on the form was not credible or veriﬁable and
      Allegiant did not accept the animal as a service animal.

             We verify all information provided on the USDOT
      form, review travel history and previous correspondence
      prior to providing the required approval. Our records also
      show multiple recent ﬂights without your animal. If your
      animal is not healthy enough to travel in a carrier for your
      return ﬂight we can cancel it for a refund.

             The Department of Transportation (DOT) requires
      air carriers to notify a passenger, in writing, when their
      request for disability accommodations have been denied
      and either admit or deny a violation of Title 14 CFR Part
      382. Allegiant denies a violation, as the form was not
      credible or veriﬁable. In addition, we are required to
      inform you of your right to pursue enforcement action, if
      you wish.

             For any future travel, please refer to our website
      under Travel Info/FAQs for Traveling with Pets for
      pertinent information on bringing a small dog as a pet in
      cabin. Allegiant understands the importance and comfort
      our pets provide during air travel. For this reason, we have
      lowered the cost of our pet rate to $50.00 per ﬂight.

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      27.    On Monday 1/17/2022, Plaintiff arrived at Newark Airport 2 hours in

advance of her scheduled departure. Plaintiff again paid the $50 pet fee, as Allegiant

had denied her again – although they received the required form more than 48 hours

in advance. The pet carrier was approved for size.

      28.    At the gate, Defendant’s representative wouldn’t allow Plaintiff on the

plane because the zipper on the carrier was broken and wouldn’t zip fully. It should

be noted that Mischa was tethered inside the carrier and could not get out.

      29.    As a result, Plaintiff had to then retrieve her suitcase, rent a car, and

drive herself home alone from Newark, NJ to Savannah, Georgia – a 12 hour ride.

      30.    Plaintiff was deprived full and equal enjoyment of the goods, services,

facilities, privileges, advantages and accommodations of the airline, in violation of

42 U.S.C. Section 12182(a), as a result of the Defendant's failure to comply with the

applicable standards promulgated by the Department of Justice pursuant to the ADA.

These violations include, but are not limited to:

      i. Defendant fails to adhere to a policy, practice and procedure to ensure that

all goods, services and facilities are readily accessible to and usable by the disabled.

      ii. Defendant fails to maintain its features to ensure that they are readily

accessible and usable by the disabled.


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      iii. Plaintiff has flown as a customer with the subject airline which forms the

basis of this lawsuit and plans to avail herself of the services offered by the subject

airline again in the future. The Plaintiff encountered barriers at the subject airline

which discriminate against her on the basis of her disability.

      31.         Plaintiff intends to fly back to New York City again in August-

September 2022. However, Plaintiff is continuously aware of the violations at

Defendant's airline and is aware that it would be a futile gesture to use Allegiant Air

again as long as the same violations exist unless she is willing to suffer additional

discrimination.

      32.         The violations present at Defendant's facility infringe Plaintiff's right

to travel free of discrimination. Plaintiff has suffered, and continues to suffer,

frustration and humiliation as the result of the discriminatory conditions present at

Defendant's airline. By continuing to operate a place of public accommodation with

discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

segregation and deprives Plaintiff the full and equal enjoyment of the goods,

services, facilities, privileges and/or accommodations available to the general public.

By encountering the discriminatory conditions at Defendant's airline and knowing

that it would be a futile gesture to return unless she is willing to endure additional

discrimination, Plaintiff is deprived of the meaningful choice of freely visiting the

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same airline readily available to the general public and is deterred and discouraged

from additional travel. By maintaining a public accommodation with violations,

Defendant deprives plaintiff the equality of opportunity offered to the general public.

      33.         Plaintiff has suffered and will continue to suffer direct and indirect

injury as a result of the Defendant’s discrimination until the Defendant is compelled

to comply with the requirements of the ADA.

      34.         Plaintiff has a realistic, credible, existing, and continuing threat of

discrimination from the Defendant’s non-compliance with the ADA with respect to

this airline as described but not necessarily limited to the violations identified in this

Complaint. Plaintiff has reasonable grounds to believe that she will continue to be

subjected to discrimination in violation of the ADA by the Defendant. Plaintiff

desires to use Allegiant Airlines again not only to avail herself of their services but

to assure herself that it is in compliance with the ADA so that she and others

similarly situated will have full and equal enjoyment of the airline without fear of

discrimination.

      35.         The Defendant has discriminated against the Plaintiff by denying her

access to, and full and equal enjoyment of, the goods, services, facilities, privileges,

advantages and/or accommodations of the subject property, as prohibited by 42

U.S.C. § 12182 et seq.

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      36.      Defendant has discriminated against the Plaintiff by denying her

access to full and equal enjoyment of the goods, services, facilities, privileges,

advantages and/or accommodations of its place of public accommodation/

commercial facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et

seq. Furthermore, the Defendant continues to discriminate against the Plaintiff, and

all those similarly situated by failing to make reasonable modifications in policies,

practices or procedures, when such modifications are necessary to afford all offered

goods, services, facilities, privileges, advantages or accommodations to individuals

with disabilities; and by failing to take such efforts that may be necessary to ensure

that no individual with a disability is excluded, denied services, segregated or

otherwise treated differently than other individuals because of the absence of

auxiliary aids and services.

      37.      Plaintiff is without adequate remedy at law and is suffering

irreparable harm. Plaintiff has retained the undersigned counsel and is entitled to

recover attorney’s fees, costs and litigation expenses from the Defendant pursuant

to 42 U.S.C. § 12205 and 28 CFR 36.505.

      38.      Pursuant to 42 U.S.C. § 12188, this Court is provided with authority

to grant Plaintiff Injunctive Relief, including an order to require the Defendant to

alter its policies and procedures to make those facilities readily accessible and

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useable to the Plaintiff and all other persons with disabilities as defined by the ADA;

or by closing the facility until such time as the Defendant cures its violations of the

ADA.

WHEREFORE, Plaintiff respectfully requests:

             a.     The Court issue a Declaratory Judgment that determines that the

       Defendant at the commencement of the subject lawsuit is in violation of Title

       III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

             b.     Injunctive relief against the Defendant to require the Defendant

       to make reasonable modifications in policies, practices or procedures, when

       such modifications are necessary to afford all offered goods, services,

       facilities, privileges, advantages or accommodations to individuals with

       disabilities; and by failing to take such steps that may be necessary to ensure

       that no individual with a disability is excluded, denied services, segregated or

       otherwise treated differently than other individuals because of the absence of

       auxiliary aids and services.

             c.     An award of attorney’s fees, costs and litigation expenses

       pursuant to 42 U.S.C. § 12205.

             d.     Such other relief as the Court deems just and proper, and/or is

       allowable under Title III of the Americans with Disabilities Act.

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            Respectfully Submitted,

            /s/ Tristan W. Gillespie
            Tristan W. Gillespie, Esq.

            600 Blakenham Court
            Johns Creek, GA 30022
            Tel: 404.276.7277
            gillespie.tristan@gmail.com
